Case 1:23-cv-00108-LMB-JFA Document 1146 Filed 08/09/24 Page 1 of 2 PageID# 82982




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

  UNITED STATES, et al.,                       )
                                               )
                       Plaintiffs,             )
         v.                                    )       No. 1:23-cv-00108-LMB-JFA
                                               )
  GOOGLE LLC,                                  )
                                               )
                       Defendant.              )


                      NOTICE OF FILING REDACTED DOCUMENTS

         PLEASE TAKE NOTICE that Plaintiff United States of America hereby files the attached

  redacted documents in connection with its Objections to Public Use of Confidential Information

  in FAA Documents and related Motion to Seal (ECF Nos. 1044 & 1045).

         (See following page for signatures)




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Case 1:23-cv-00108-LMB-JFA Document 1146 Filed 08/09/24 Page 2 of 2 PageID# 82983




  Dated: August 9, 2024

  Respectfully submitted,

  JESSICA D. ABER
  United States Attorney

  /s/ Gerard Mene
  GERARD MENE
  Assistant U.S. Attorney
  2100 Jamieson Avenue
  Alexandria, VA 22314
  Telephone: (703) 299-3777
  Facsimile: (703) 299-3983
  Email: Gerard.Mene@usdoj.gov

  /s/ Julia Tarver Wood
  JULIA TARVER WOOD
  /s/ Michael J. Freeman
  MICHAEL J. FREEMAN
  United States Department of Justice
  Antitrust Division
  450 Fifth Street NW, Suite 7100
  Washington, DC 20530
  Telephone: (202) 307-0077
  Fax: (202) 616-8544
  Email: Julia.Tarver.Wood@usdoj.gov
  Attorneys for the United States




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